      Case: 1:22-cv-00958 Document #: 1 Filed: 02/23/22 Page 1 of 6 PageID #:1




                              UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION

        -- - - -- - - -- - - -- - - -- - - -- - - -- - - -- - - -- - -
       MARTIN J. WALSH, Secretary of Labor,                            )
       United States Department of Labor,                              )
                                                                       )
                                  Petitioner,                          )   Case No.: 22CV958
                         v.                                            )
                                                                       )   Judge:
       TGM FABRICATORS, INC., an Illinois                              )
       corporation,                                                    )
       - -- - - -- - - -- - - -- - - -- - - -- - - -- - - -- - - -- -

                   SECRETARY OF LABOR’S PETITION TO ENFORCE
                     ADMINISTRATIVE SUBPOENA DUCES TECUM

       Petitioner MARTIN J. WALSH, Secretary of Labor, United States Department of

Labor ("Secretary"), through the undersigned counsel and pursuant to Section 9 of the Fair

Labor Standards Act of 1938, as Amended, 29 U.S.C. § 201, et seq., ("FLSA" or "Act"), applies

to this Court for an Order requiring Respondent TGM FABRICATORS, INC., an Illinois

corporation, (“Respondent”) to show cause, if any, why it failed to appear and produce the

records, papers, and documents requested as set forth in the subpoenas duces tecum issued by

the Regional Administrator, Wage and Hour Division, United States Department of Labor,

and duly served upon Respondent.

                                                        I

       Jurisdiction to issue the Order requested herein is conferred upon this Court by Section

9 of the Act, 29 U.S.C. § 209, and by Sections 9 and 10 of the Federal Trade Commission Act

of 1914, as amended (15 U.S.C. §§ 49, 50) ("FTC Act").
      Case: 1:22-cv-00958 Document #: 1 Filed: 02/23/22 Page 2 of 6 PageID #:2




                                                II

       Section 11 of the FLSA authorizes the Secretary to investigate and gather data regarding

“conditions and practices of employment in any industry subject to this Act ... as necessary

or appropriate to determine whether any person has violated any provision of this Act, or

which may aid in the enforcement of the provisions of this Act.” 29 U.S.C. § 211. Section 9

of the FLSA further provides that sections 9 and 10 of the FTC Act (15 U.S.C. §§ 49, 50),

relating to the production of documents, inter alia, are applicable to the Secretary for purposes

of investigations under the FLSA. 29 U.S.C. § 209. Section 9 of the FTC Act provides

authorized agents shall have access to documentary evidence of “any person, partnership, or

corporation being investigated or proceeded against; and the Commission shall have power to

require by subpoena the attendance and testimony of witnesses and the production of all such

documentary evidence relating to any matter under investigation.” 15 U.S.C. § 49.

                                               III

        A.         Since October 15, 2018, Michael Lazzeri has been the Regional

Administrator of the Midwest Regional Office of the Wage and Hour Division, United

States Department of Labor ("Regional Administrator Lazzeri"), who, among others, has

been delegated the authority by the Secretary to issue administrative subpoenas under the

Act. Secretary's Order 01-2014, § 5(C), 79 Fed. Reg. 77527, 77528 (Dec. 19, 2014).

        B.         Fernando D. Hernandez is an Assistant District Director of the Chicago

District Office of the Wage and Hour Division, United States Department of Labor

("Assistant District Director Hernandez").

        C.         Thomas Gauza is the District Director of the Chicago District Office of the

Wage and Hour Division, United States Department of Labor ("District Director Gauza").




                                                2
      Case: 1:22-cv-00958 Document #: 1 Filed: 02/23/22 Page 3 of 6 PageID #:3




                                               IV

       TGM Fabricators, Inc., at all times referred to herein, is and was a corporation with an

office and a place of business at 57 E. 24 th Street, Chicago Heights, Illinois 60411, within

the jurisdiction of this Court.

                                                V

       In order to conduct a thorough investigation into the wages, hours, and other

conditions and practices of employment, pursuant to section 11 of the FLSA, Wage and Hour

investigators regularly review, copy and/or transcribe information from employers' records

including, but not limited to, payroll records and records of hours worked; question and

interview employees; and collect and review other relevant data relating to compliance by

employers under the Act.

                                               VI

       On September 15, 2021, pursuant to the power vested in him as Regional

Administrator of the Wage and Hour Division, United States Department of Labor, Michael

Lazzeri signed and issued a subpoena duces tecum requiring Respondent TGM Fabricators,

Inc. to contact District Director Thomas Gauza on or before September 30, 2021, to arrange

for an in-person delivery of designated books, papers, and other documents as listed on

Attachment #1 to the subpoena duces tecum, concerning matters within the scope of an

investigation being conducted pursuant to the FLSA, 29 U.S.C. § 211. See subpoena duces

tecum and accompanying Attachment #1 attached to the Memorandum in Support of the

Secretary of Labor's Petition for Enforcement of Administrative Subpoena Duces Tecum

("Secretary's Memorandum in Support") as Exhibit A and A-l.




                                                3
      Case: 1:22-cv-00958 Document #: 1 Filed: 02/23/22 Page 4 of 6 PageID #:4




                                               VII

       On September 16, 2021, Wage and Hour Assistant Area Director Fernando

Hernandez served the aforementioned subpoena, by hand delivering duplicate originals to Lisa

Batuso, Respondent’s owner at the business location. A Return of Service Affidavit was

prepared, and was served. See Return of Service Affidavit, attached to the Secretary's

Memorandum in Support, as Ex. B.

                                               VIII

       To date, Respondent has not produced any documents responsive to the subpoena.

The subpoena seeks documents dating from August 4, 2019 through the date of production,

including but not limited to ownership identification and interest, business structure and

corporate filings; tax records; employee identification, time sheet and payroll records;

documents pertaining to the employer policies and procedures related to compensation to all

workers; employee contracts; employee contact information; and records of tips paid to

employees and tip credits taken by the employer by Respondent Corporation. To date,

Respondent has not provided any records. See Declaration of Wage and Hour Investigator

Edith Cardenas Michmerhuizen, attached to the Secretary's Memorandum in Support, as Ex. C.

Respondent has failed to respond to the requests for documents sought in the Secretary's

subpoena duces tecum, and this failure has impeded and continues to impede the Secretary's

lawful investigation under the provisions of section 11 of the FLSA.




                                                 4
      Case: 1:22-cv-00958 Document #: 1 Filed: 02/23/22 Page 5 of 6 PageID #:5




                                  PRAYER FOR RELIEF

       WHEREFORE, the Secretary respectfully requests this Court:

       A.         Issue an Order requiring Respondent to fully comply with the Secretary's

subpoena duces tecum within 10 days of the date of the Order or show cause, if any, for its

failure to comply with and obey the Secretary's subpoena duces tecum;

       B.         Issue an Order requiring the U.S. Marshals Service to effect service upon

Respondent;

       C.         Issue an Order tolling the statute of limitations from September 30, 2021,

the date Respondent first failed to comply with the Secretary's subpoena duces tecum, until

such date as the Secretary informs the Court that Respondent has complied in full;

       D.         Issue an Order directing Respondent to pay all costs and expenses incurred

by the Secretary in this matter; and

       E.          For such other just and further relief as may be necessary and appropriate.

                                                  Respectfully submitted,

                                                  SEEMA NANDA
                                                  Solicitor of Labor

                                                  CHRISTINE Z. HERI
                                                  Regional Solicitor

                                                  /s/Emelda Medrano
                                                  EMELDA MEDRANO
                                                  Attorney
                                                  Attorneys for the Secretary
P.O. Address:
U.S. Department of Labor
Office of the Solicitor
230 South Dearborn Street, Suite 844
Chicago, IL 60604
Telephone: (312) 353-1169
Fax: (312) 353-5698
E-mail: medrano.emelda@dol.gov


                                              5
      Case: 1:22-cv-00958 Document #: 1 Filed: 02/23/22 Page 6 of 6 PageID #:6



       ORDERED that within ten days of service of this Order and the Petition and supporting

Memorandum and Exhibits, Respondents show cause, if any, for their failure to comply with and

obey the administrative subpoena duces tecum, or comply in full with the Subpoena, and

       FURTHER ORDERED that the U.S. Marshals Service serve a copy of this Order,

together with a copy of the Petition, supporting Memorandum and Exhibits, upon Respondent,

TGM FABRICATORS, INC., within 14 days of this Order;

       FURTHER ORDERED that the statute of limitations set forth at Section 6 of the Portal­

to-Portal Act, 29 U.S.C. § 255, is hereby tolled from September 30, 2021, the date Respondent

first failed to comply with the Secretary's subpoena duces tecum, until such date as the Secretary

informs the Court that Respondents have complied in full.




       DATED:                                          , 2022.




                                              JUDGE, UNITED STATES DISTRICT COURT
                                              NORTHE RN DISTRICT OF ILLINOIS
                                              EASTERN DIVISION




                                                 2
